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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF FLORIDA
                        GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                                 CASE NO.: 1:05cr40-SPM

ROBERTO VALLE and
LORENZO VALERA, et al.,

           Defendants.
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                    ORDER CONTINUING SENTENCING

      For good cause shown, the motions to continue sentencing (docs. 399

and 340) are granted. The sentencing hearings for Defendants Valle and Valera

are continued to 1:30 p.m. on November 6, 2006.

      SO ORDERED this 25th day of September, 2006.


                                  s/ Stephan P. Mickle
                                Stephan P. Mickle
                                United States District Judge
